Kane, et al.

De Blasio, et al.

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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

Plaintiffs,

vs. DECLARATION OF
ANTHONY G. BLOCH

Civil Action No. 1:21-cv-07863

 

 

Defendants.
STATE OF NEW YORK )
) ss.:
COUNTY OF NEW YORK )

Anthony G. Bloch, declares under penalty of perjury, pursuant to 28 U.S.C. § 1746,

that the following is true:

1.

I am Anthony G. Bloch.

I have been a substitute teacher with the NYC DOE since the spring of 2019, now for
about two and a half years. As a college adjunct for 18 years, I was interested in also
applying my teaching skills in the service of high-needs grade schools. The special
education school that nominated me to work as a substitute teacher is the school
where I have been working ever since.

. Part time substitute teacher work has supplemented my income and allowed me to

keep my financial commitment toward the support of my teenage daughter, now 19,
and in college. It has also given me a new direction in my career, .as I have adapted
lessons for the special needs of the students whom I teach. For the full recent school
year, 2020-2021, I was hired for a regular substitute job, with the same class for two
days a week. Just last month, I had informed the administration of my school that I
will be available for three days per week this school year, wherever I am needed.

NYC schools are chronically short staffed, and my own school is no exception.
Although the school has four other sites where I could also work, they have needed
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me too much at the main site. And in fall ’21, this need is even greater because of the
recent shortage of teachers. Substitute teaching for me is not just a job, but an ongoing
professional opportunity, and my services are valued at my school. The children really
do need experienced educators like me, to help ensure that they do not fall too far
behind, and their education does not suffer any more than it already has, due to the
special challenges to learning which they have faced.

. Iam also working on getting my master’s degree in Education and Special Education,
so that I can become a full-time teacher. Thus far, I have earned 21 of the required 36
credits, and have a 4.00 average at Touro Graduate School of Education. Substitute
teaching is a vital part of my professional growth, and learning experience, as well as
a necessary source of income.

. On the 23" of August, ‘21 I was informed that I need to get the COVID-19 vaccine to
keep substitute teaching in the NYC public schools.

. Ihave sincerely held religious beliefs that prevent me from taking a COVID-19
vaccine.

. On September 20" of this year, I attempted to submit a religious exemption through
“SOLAS”, the system provided for teachers and staff to upload religious or medical
exemptions. However, I was offered only Reasonable Accommodation, and the
system led me to a form to fill out towards this end. There was never an option

to upload my religious exemption letter that I’d completed.

. So, I emailed the letter to the administration of the school where I am a substitute
teacher. But to this day my religious exemption letter has not been accepted, filed,
and processed by the Department of Education.

10.On October 1*, 2021, I received an email from the Department of Education stating,

“If you do not submit proof of being vaccinated by October 1, 2021, your substitute
service will be suspended, and you will be unable to work at the NYC Department of
Education in any capacity.”

11. Without relief from this Court, I will lose my ability to teach in the NYC public

school system, effective on Monday, October 4". I pray the Court will intervene, for
the sake of all involved.
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Anthony G. Bloc
